






NO. 07-05-0156-CV



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL C



JULY 17, 2007


______________________________



PRAXAIR, INC., 



									Appellant


v.



STERLING CHEMICALS, INC., 



									Appellee

_________________________________



FROM THE 405TH DISTRICT COURT OF GALVESTON COUNTY;



NO. 00-CV-0060; HON. WAYNE J. MALIA, PRESIDING


_______________________________



				    On Motion For Rehearing

			       _______________________________


Before QUINN, C.J., and REAVIS and HANCOCK, JJ. (1)  

	Pending before us is the motion for rehearing of appellee Sterling Chemicals, Inc.
(Sterling) in which it asks us to address an alternative basis upon which it seeks to have
us affirm the judgment of the trial court.  We overrule the motion.

	The basis alluded to rests upon the jury's finding that Sterling and Praxair, Inc.
(Praxair), (as opposed to Praxair Hydrogen Supply, Inc. (PHS)), orally agreed that Praxair
"would design or construct the piping in the Texas City plant in accordance with [Praxair's]
current design practices and facilities to comply with U.S. Codes, the latest ASME Unfired
Pressure Vessel Code, and the ANSI B31.3 for refinery piping."  Yet, the only written
agreement between Praxair and Sterling consisted of the written guaranty alluded to in our
original opinion.  Moreover, in that document the following clause appeared:  

	This Guaranty contains the entire agreement of the parties with respect to
the subject matter hereof, and supersedes any and all prior agreements,
whether written or oral, that may exist between the parties with respect
thereto.  There are no promises, representations or warranties affecting this
Agreement that are not contained herein.  

Clauses such as this prohibit the terms of written contracts from being varied by prior oral
agreements which are absorbed or merged into the subsequent agreement.  Hubacek v.
Ennis State Bank, 159 Tex. 166, 317 S.W.2d 30, 32 (1958).  Because the purported oral
agreement to which Sterling alludes arose before the guaranty was executed, the
aforementioned clause vitiated it.       

	Sterling's motion for rehearing is overruled.


							Per Curiam
1. Don Reavis, Justice (Ret.), Seventh Court of Appeals, sitting by assignment, did not participate in
this decision.  



ding 5"/&gt;
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
  
 









NO. 07-10-0075-CV

&nbsp;

IN THE COURT OF APPEALS

&nbsp;

FOR THE SEVENTH DISTRICT OF TEXAS

&nbsp;

AT AMARILLO

&nbsp;

PANEL C

&nbsp;

SEPTEMBER 29, 2010

&nbsp;

______________________________

&nbsp;

&nbsp;

IN THE INTEREST OF Q.W.J. AND S.C., CHILDREN

&nbsp;

_________________________________

&nbsp;

FROM COUNTY COURT AT LAW NO. 2 OF RANDALL COUNTY;

&nbsp;

NO. 6538-L2; HONORABLE RONNIE WALKER, JUDGE[1]

&nbsp;

_______________________________

&nbsp;

Before QUINN, C.J., and HANCOCK and PIRTLE, JJ.

OPINION

The
interests of parents in their relationship with their children is sufficiently
fundamental to come within the finite class of liberty interests protected by
the Fourteenth Amendment.[2]

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 




&nbsp;

A.T.[3] appeals the trial court's denial of a
free reporter's record after the trial court found that an appeal from the
trial court's order terminating his parental rights to his child, S.C., would
be frivolous. &nbsp;&nbsp;Likewise, C.J. also appeals
the trial court's denial of a free reporter's record and additionally asserts
abuse of discretion by the trial court in its findings concerning the grounds
for termination of her parental rights to her children, Q.W.J.[4]
and S.C.&nbsp; We reverse and remand. 

Factual Background

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; After
hearing testimony from numerous witnesses from January 18, 2010 through January
21, 2010, the trial court signed an order terminating the parental rights of
A.T. to his minor child and C.J. to her minor children on February 22,
2010.&nbsp; Both A.T. and C.J. were
represented at trial by respective appointed counsel.&nbsp; Both counsel were permitted to withdraw
immediately following trial.[5]&nbsp; A.T., proceeding pro se, filed a timely Notice
of Appeal and Affidavit of Indigence.[6]&nbsp; C.J., represented by newly appointed counsel,
timely filed a Notice of Appeal and Affidavit of Indigence.[7]&nbsp; Although the incomplete appellate record does
not reflect when, and if, A.T. requested appointment of counsel for appellate purposes,
the trial court signed an order appointing new counsel for A.T. on March 18,
2010, twenty-four days after signing the termination order and after most
critical deadlines for this type of accelerated appeal had expired.&nbsp; See
generally Tex. Fam. Code Ann. § 263.405(a) and (b) (Vernon 2008).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Pursuant
to section 263.405(d), the trial court held a mandatory hearing on March 22,
2010.&nbsp; A.T.'s newly appointed counsel was
unavailable, and the hearing proceeded with C.J.'s newly appointed counsel
speaking for both parents with A.T.'s consent.&nbsp;
The State urged the trial court to deny the motion for new trial and
find the parents' appeals frivolous.&nbsp; Counsel
for C.J. requested the trial court provide a free transcript in the event the
motion for new trial was not granted.&nbsp; No
evidence was introduced at the hearing and the trial court announced it was
denying the motion for new trial as to both parents and ruled any appeal
frivolous.&nbsp; The trial court added:

[a]nd my finding on the frivolous
issue is based on the evidence that the Court heard.&nbsp; This was a non-jury trial; it was a trial,
bench.&nbsp; There was a lot of evidence.&nbsp; I heard a lot of witnesses, and so based on
what I heard, the Court is of the opinion that such an appeal would be
frivolous . . . .

&nbsp;

The
trial court signed an order memorializing its ruling.&nbsp; The statutory consequence of a
"frivolous" finding is that an indigent parent is not entitled to a
free appellate record of the underlying proceedings.&nbsp; Tex. Civ. Prac. and Rem. Code Ann. § 13.003(a) (Vernon 2002).&nbsp; If a trial court makes a frivolous finding,
the aggrieved parent can appeal, but the appeal is initially limited to the
frivolous issue.&nbsp; Lumpkin v. Dep't of Family
&amp; Protective Servs., 260 S.W.3d
524, 526 (Tex.App.--Houston [1st Dist.] 2008, no pet.).&nbsp; That is, before we can reach the substantive
merits of an appeal in which a frivolous finding has been made, we must first
determine whether the trial court properly found the appeal to be
frivolous.&nbsp; Id.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellants'
notices of appeal and statement of points were filed before the trial court
made its frivolous determination, and Appellants have not specifically
challenged the frivolous determination by way of a statement of points.&nbsp; Nevertheless, we construe A.T.'s and C.J.'s
appeals to encompass a challenge to the frivolous finding because both parents
did file separate appellate briefs contending the trial court committed
reversible error in denying them a free reporter's record.&nbsp; Id.

Analysis

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; We
begin our analysis with the axiom that the natural right existing between
parents and their children is of constitutional dimension.&nbsp; See Santosky v. Kramer, 455 U.S. 745, 758-59 102 S.Ct.
1388, 71 L.Ed.2d 599 (1982).&nbsp; See also Holick v. Smith, 685 S.W.2d 18,
20 (Tex. 1985).&nbsp; Consequently,
termination proceedings are strictly scrutinized.&nbsp; In the Interest of G.M., 596 S.W.2d 846 (Tex. 1980).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Section
13.003 of the Texas Civil Practice and Remedies Code provides for a free
reporter's record if the trial court finds (1) the appeal is not frivolous and
(2) the record is needed to decide issues presented on appeal.&nbsp; Tex. Civ. Prac. and Rem. Code Ann. § 13.003(a) (Vernon 2002).&nbsp; In deciding whether an appeal is frivolous, a
judge may consider whether the appellant has presented a substantial question
for appellate review.&nbsp; Id. at (b).&nbsp; An appeal is frivolous when it lacks an
arguable basis either in law or in fact.&nbsp;
See In re K.D., 202 S.W.3d 860, 866 (Tex.App.--Fort Worth 2006, no pet.) (citing De La Vega v.
Taco Cabana, Inc., 974 S.W.2d
152, 154 (Tex.App.--San Antonio 1998, no pet.)).&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; We
review a trial court's frivolous finding under an abuse of discretion standard.&nbsp; De La
Vega, 974 S.W.2d at 154.&nbsp; A trial court abuses its discretion if it
acted without reference to any guiding rules and principles or if its decision
was arbitrary or unreasonable.&nbsp; McDaniel v. Yarbrough, 898 S.W.2d 251,
253 (Tex. 1995) (citing Downer v.
Aquamarine Operators, Inc., 701
S.W.2d 238, 242-43 (Tex. 1985)).&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Here,
the trial court terminated the rights of both parents on the following grounds:

·&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
knowingly placed
or knowingly allowed the children to remain in conditions or surrounding which
endangered their physical or emotional well-being;

&nbsp;

·&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
engaged in
conduct or knowingly placed the child with persons who engaged in conduct which
endangered the physical or emotional well-being of the children;

&nbsp;

·&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
failed to support
the child in accordance with the parents' abilities during a period of one year
ending within six months of the date of the filing of the petition; and

&nbsp;

·&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
failed to comply
with the provisions of a court order that specifically established the actions
necessary for the parents to obtain the return of the children who had been in
the permanent or temporary managing conservatorship of the Department of Family
and Protective Services for not less than nine months as a result of the
children's removal from the parents under Chapter 262 for abuse or neglect.

&nbsp;

See Tex. Family Code Ann. § 16.001(1)(D), (E), (F), and (O) (Vernon Supp. 2010).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Neither
court-appointed appellate counsel served as trial counsel.&nbsp; Appellants' trial counsel were both permitted
to withdraw during a "critical stage" of the termination
proceeding.&nbsp; See In the Interest of J.O.A., 262
S.W.3d 7, 18 (Tex.App.--Amarillo 2008), modified,
283 S.W.3d 336 (Tex. 2009).&nbsp; The
procedural posture of this case forced A.T. to file his statement of points
without the benefit of counsel and C.J.'s newly appointed appellate counsel to
face the onerous task of formulating a statement of points without the benefit
of either being present at trial or a reporter's record to review.[8]&nbsp; In this respect, the operation of section
263.405 is illogically circular because it prevents an indigent parent from
obtaining a record until after the trial court makes a non-frivolous
determination as to points that require a record to formulate and present.&nbsp; See In
re K.H.O.T.T., 2010 Tex.App. LEXIS 6507, at *3 (Tex.App.--Tyler
Aug. 11, 2010, no pet. h.).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The
Legislature affords parents in termination cases the right of appeal.&nbsp; See Tex.
Fam. Code Ann. § 109.002 (Vernon 2008).&nbsp;
Once appellate review is afforded, it cannot be unduly restricted.&nbsp; In the Interest of B.G., __ S.W.3d __, 53 Tex. Sup. J. 947,
No. 07-0960, 2010 Tex. LEXIS 477, at *17 (Tex. July 2, 2010).&nbsp; The United States Supreme Court "has
never held that the States are required to establish avenues of appellate
review, but it is now fundamental that, once established, these avenues must be
kept free of unreasoned distinctions that can only impede open and equal access
to the courts."&nbsp; M.L.B. v. S.LJ.,
519 U.S. 102, 111, 117 S.Ct. 555, 136 L.Ed.2d 473 (1996).

In his Statement of Points, A.T.
challenges the sufficiency of the evidence to support all four grounds relied
on by the trial court in its determination to terminate the parent-child
relationship between him and his child.&nbsp;
He also challenges the sufficiency of the evidence to support the trial
court's best interest determination, alleges ineffective assistance of counsel,
and finally, challenges the constitutionality of sections 109.002 and 263.405
of the Texas Family Code.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; By
her Statement of Points, C.J. also challenges the evidence to support the four
grounds relied on by the trial court in its decision to terminate her parental
rights to her children as well as the best interest determination.&nbsp; She contends the Department failed to meet
the clear and convincing standard of review utilized in termination cases.&nbsp; She echoes A.T.'s complaints on ineffective
assistance of counsel and also challenges the constitutionality of section
109.002 and 263.405.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; We
now consider whether A.T. and C.J. presented a substantial question for
appellate review, which is a factor that may be considered in assessing whether
the appeal is frivolous.&nbsp; Tex. Civ. Prac. &amp; Rem. Code Ann. §
13.003(b).&nbsp; In a contested
termination proceeding, sufficiency of the evidence, which both parents raise
in their Statements of Points, is an arguable issue on appeal.&nbsp; Additionally, a challenge to the
constitutionality of section 263.405, which both parents included in their
Statements of Points, raises a substantial question which should be reviewed on
the merits by an appellate court.&nbsp; See D.R. v. Tex. Dep't of Family &amp; Protective Servs., 281 S.W.3d 598, 602 (Tex.App.--El
Paso 2008, no pet.). 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Additionally, in making a frivolous determination under section 263.405(d)(3), a trial court is not being asked to decide the merits
of a party's appeal.&nbsp; That task is for
the province of an appellate court.&nbsp;
Instead, the trial court's role is to determine whether there is an
arguable basis for an appeal, i.e., whether the issues raised in a statement of
points are frivolous.&nbsp; See In the Interest of D.W., 249 S.W.3d
625, 644 (Tex.App.--Fort Worth 2008), pet.
denied, 260 S.W.3d 462 (Tex. 2008).[9]&nbsp; When the Legislature blocks the exercise of
our appellate judicial function, it interferes with our substantive appellate
powers and violates the Separation of Powers Clause of Article II, § 1 of the
Texas Constitution.&nbsp; See 249 S.W.3d at 640.&nbsp; See
also In the Interest of M.R.J.M., 280 S.W.3d 494, 498 and n.3
(Tex.App.--Fort Worth 2009, no pet.).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; We
conclude arguable grounds for an appeal exist.&nbsp;
Therefore, the trial court abused its discretion in finding the appeal
frivolous and denying A.T. and C.J. a free reporter's record.&nbsp; Consequently, we reverse the trial court's
order finding the parties' notices of appeals frivolous and remand the cause to
the trial court to order the court reporter to complete and file the reporter's
record on or before November 29, 2010.&nbsp; Appellants
shall each file a merits brief within 20 days after the reporter's record is
filed.&nbsp; Appellee's brief must be filed
within 20 days after Appellants' briefs are filed.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; It is
so ordered.

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Per Curiam

&nbsp;











[1]Hon.
Abe Lopez, (Ret.), sitting by assignment.&nbsp;
Tex. Gov=t Code Ann. '75.002(a)(3) (Vernon 2005). 

&nbsp;





[2]Santosky v. Kramer, 455 U.S. 745,
774, 102 S.Ct. 1388, 71 L.Ed.2d 599 (1982) (Rehnquist, J. dissenting).

&nbsp;





[3]To
protect the parents' and children's privacy, we refer to them by their
initials.&nbsp; See Tex. Fam. Code Ann. § 109.002(d) (Vernon 2008).&nbsp; See
also Tex. R. App. P. 9.8(b).

&nbsp;





[4]The
order also terminated the parental rights of R.C.H. to Q.W.J.; however, R.C.H.
did not appear for trial and is not a party to this appeal.

&nbsp;





[5]The
clerk's record contains the withdrawal order of C.J.'s appointed counsel but
does not contain an order permitting A.T.'s counsel to withdraw.

&nbsp;





[6]The
clerk's record in this cause does not reflect a Statement of Points filed by
A.T.; however, A.T. did timely file a Statement of Points in trial court cause
number 6537-L2, appellate cause number 07-10-0087-CV.&nbsp; We cannot say with assurance that the clerk's
record in this cause contains all documents filed.&nbsp; Due to the proceedings in cause number
6537-L2 and cause number 6538-L2 being consolidated below for trial, we assume
for the sake of argument that A.T.'s Statement of Points applies in both
appeals.

&nbsp;





[7]C.J.'s
Statement of Points, combined with her motion for new trial, is not contained
in the clerk's record.&nbsp; However, a
file-stamped copy is included in the appendix to her brief.





[8]C.J.'s
appellate counsel candidly admits that she was forced to merely speculate as to
what appellate issues might be raised in filing C.J.'s statement of points. 





[9]In
denying the petition for review, the Court noted it neither approved nor
disapproved of the Fort Worth Court's holding regarding the constitutionality
of section 263.405. 







